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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:98CR126
                              )
          v.                  )
                              )
DONALD WILLY,                 )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to restrict (Filing No. 667).       The Court finds the motion should

be granted.   Accordingly,

           IT IS ORDERED that said motion is granted; the motion

to release is deemed filed as a restricted document.

           DATED this 6th day of August, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
